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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO . 19-61112-CIV-ZLOCH

 CARLY BITTLINGMEYER, individually
 and on behalf of a11 others
 similarly situated,
              Plaintiff,

 VS .                                              ORDER OF INSTRUCTIONS

 CORAL SPRINGS FAMILY DENTISTRY
 OF AMERICARE, P.A .,

              Defendant .
                                  /
       THIS MATTER is before the Court sua sponte . This Order is necessitated by
 the Court's observations and hope that this Order will inform the lawyers what
 will be expected of them in the course of prosecuting and defending this action .
 It is hereby
        ORDERED AHn ADluDcRn as follows:

        1. Within twenty (20) calendar days from the date of this Order, Counsel
  for the Parties, unless excluded by Rule 26(a)(1)(B), shall meet either in person
  or via telephone for the purposes prescribed in Federal Rule of Civil Procedure
  26(f).   Within seven (7) calendar days of meeti'
                                                  ng the Parties are n'ointlv
  responsible for filing with the Court a Scheduling Report .     Said Report must
  include all categories listed in Local Rule l6.1(b)(2)- 43) (including a11
  subparts listed therein) and an agreed time and place to exchange a11 discovery
  listed in Federal Rule of Civil Procedure 26(a) (1) (A) by the time listed in
  Federal Rule 26(a)(1)(c). Together with the Scheduling Report, the Parties shall
  also file corporate disclosure statements in compliance with Federal Rule of
  Civil Procedure 7 .1 .
          2 . The Parties shall notify the Court in their Scheduling Report as to
  whether this case was previously filed or whether it is substantially related to
  another case previously or currently pending before another court . S.D . Fla.
  L .R . 3.8.
          3. The Court does not routinely refer discovery matters to a Magistrate
  Judge. The Court expects that the Parties shall abide by the Federal and Local
  Rules governing civil actions; however, based on the Court#rs observations it is
  necessary to stress certain Rules that are all too often ignored by parties:
          a. Pursuant to Local Rule 7.1(a) (1), every motion must include a
          memorandum of 1aw that cites b0th the applicable Rule or Statute and
          the governing authority in support of the movant's position, except
        those so listed in the Local Rule.     S.D. Fla. L.R. 7.1(a)(1). A
        Party's failure to provide such a memorandum is grounds for
        automatic denial of the same;
        b . Every non-excluded motion must, in accord with Local Rule
        7.1(a)(3), include a statement noting conferral with opposing
        counsel or detail, with great specificity, the efforts taken to
        confer. By way of example, a single phone call or e-mail just prior
        to filing the motion does not satisfy the requirement of conferral.
        Failure to confer or detail the reasons for failing to confer is
        grounds for denial of the motion and imposition of attorney's fees
        as a sanction. S.D. Fla. L.R. 7.l(a) (3);
        c. Every motion to compel and motion for protective order must
        include a verbatim copy of the specific discovery request and
        objection at issue and the date on which the discovery request was
        propounded. S.D. Fla. L.R. 26.1(h);
        d. Every motion for attorney's fees must be accompanied by al1 of
        the information listed in Local Rule 7 .3 . In addition, the billing
        records submitted by the Parties must be those normally used by the
        attorney's firm to record the time billed by attorneys. The Court
        will not entertain attorney's fees motions unless they are
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        accompanied by copies of the original time sheets kept by the
        attorney's firm . S.D. Fla . L .R . 7 .3 .;
        e . Pursuant to Federal Rule 37z fees will be imposed if the Court
        grants a Party's motion to compel, or if discovery is submitted
        after a motion to compel is filed.    Fed. R. Civ. P. 37(a)(5)(A).
        Similarly, a motion to compel that is denied may result in an award
        of attorney's fees and costs to the Party opposing the motion. Fed.
        R. Civ. P. 37(a)(5)(B);
        f. The Court's Order Setting Pre-Trial Conference will contain a
        discovery cut-off date . This means that all discovery must be
        completed by the date prescribed . Therefore, a1l discovery must be
        propounded with sufficient time for the Party to whom the discovery
        request is directed to respond before the deadline . For example, a
        Party seeking to serve interrogatories on an opposing Party must do
        so more than thirty (30) days before the discovery cut-off date.
        Any discovery request propounded, without leave of Court, that gives
        the Party to whom it is directed an insufficient amount of time to
        respond before the discovery cut-off date shall be deemed moot, and
        the Party will be under no obligation to respond to the same;
        g . Parties must note that the mere filing of a motion for extension
        of time or for a protective order neither absolves the moving party
        of its duty to respond to discovery within the time determined by
        the Rules, Court Order, or agreement of the Parties, nor does it
        toll the time when such discovery is to be filed;
        h . The Court otherwise directs the Parties to the Local Rules of the
        Southern District of Florida and to the two Appendices attached
        thereto, which clearly spell out the expectations of attorneys who
        practice before this Court .
        4 . Material that is listed in Federal Rule of Civil Procedure 5.2 must be
  filed in accordance with the procedures prescribed by the United States District
  Court for the Southern District of Florida Case Management Electronic Case Filing
  Administrative Procedures 5 6.
        5. The Court does not grant prospective motions to file under seal; such
  motions will only be granted on a case-by-case basis and for no longer than one
  (1) year.
        6. Any motion to amend the Complaint must include the following : whether
  the party or claim it seeks to add is proper under Federal Rules 18-20, and why;
  the basis for adding the additional parties or claims; whether the additional
  party and claims could have been brought earlier; and if so, why they were not
  included .
        7. Any motion for summary judgment must comport with Local Rule 56.1. The
  Court strictly enforces the provision of Local Rule 56.1(a) and its requirements
  concerning the statements of fact that are to accompany any motion for summary
  judgment and the response thereto.
        8 . If Pre-trial Conference, to be set by separate order, is cancelled, all
  motions in limine and memoranda treating unusual questions of law must be
  submitted within eight (8) days of the date for which Pre-trial Conference was
  scheduled .
        DOHR AHn ORDRnRn in Chambers at Fort Lauderdale, Broward
                                   +
  County , Florida, this               day of Augustp 2019.




                                       W ILL IAM J . ZLOC H
                                       Sr . United States District Judge

  Copies furnished :

  A11 Counsel of Record



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